Case 08-14631-GMB   Doc 608-4 Filed 08/27/08 Entered 08/27/08 12:05:17   Desc
                      Certificate of Service Page 1 of 9
Case 08-14631-GMB   Doc 608-4 Filed 08/27/08 Entered 08/27/08 12:05:17   Desc
                      Certificate of Service Page 2 of 9
Case 08-14631-GMB   Doc 608-4 Filed 08/27/08 Entered 08/27/08 12:05:17   Desc
                      Certificate of Service Page 3 of 9
Case 08-14631-GMB   Doc 608-4 Filed 08/27/08 Entered 08/27/08 12:05:17   Desc
                      Certificate of Service Page 4 of 9
Case 08-14631-GMB   Doc 608-4 Filed 08/27/08 Entered 08/27/08 12:05:17   Desc
                      Certificate of Service Page 5 of 9
Case 08-14631-GMB   Doc 608-4 Filed 08/27/08 Entered 08/27/08 12:05:17   Desc
                      Certificate of Service Page 6 of 9
Case 08-14631-GMB   Doc 608-4 Filed 08/27/08 Entered 08/27/08 12:05:17   Desc
                      Certificate of Service Page 7 of 9
Case 08-14631-GMB   Doc 608-4 Filed 08/27/08 Entered 08/27/08 12:05:17   Desc
                      Certificate of Service Page 8 of 9
Case 08-14631-GMB   Doc 608-4 Filed 08/27/08 Entered 08/27/08 12:05:17   Desc
                      Certificate of Service Page 9 of 9
